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PO BOX 4115
CONCORD CA 94524

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RETURN SERV|CE REQUESTED

January 7, 2016
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RALPH D KR|EGER

§-

P.O. Box 385908
Minneapolis, MN 55438-5908
1-877-476-9749

CURRENT CREDITOR: BARCLAYS BANK DELAWARE
ORIGINAL CREDITOR: Barclaycard

REGARDING: VISA BLACK CARD

ACCOUNT NUMBER:_2330

DATE OF LAST PAYMENT: 05/05/ 14

CHARGE-OFF DATE: 12/30/ 14

AMOUNT DUE AS OF CHARGE-OFF: $938.22

BALANCE lTEMlZATION

BALANCE DUE: 3938.22

FRS FILE NUMBER: “70

ON-LINE PIN NUMBER*89

(Used to access and view your tile on WWW.FIN-REC.COM)

"**"**|NlT|AL NOT|F|CAT|ON**"**

The account(s) listed above have been assigned to this agency for collection. We are a professional collection agency attempting to collect a debt, Any information obtained will be

used for this purpose.

You owe $938.22. Please feel free to ca11 us at the toll free number listed below or use our online consumer help desk. FRS now accepts some forms of payment online at

www.fin-recrcom. See your online access pin above.

Unless you notify this office within 30 days after receiving this notice that you dispute the validi
notify this office in writing within 30 days after receiving this notice that you dispute the validi
debt or obtain a copy of a judgment and mail you a copy of such judgment or verification. If`
will provide you with the name and address of the original creditor, if different from the current credit

ty of this debt or any portion thereof, this office will assume this debt is valid. If you
ty of this debt or any other portion thereof, this office will obtain verification of the
quest this office in writing within 30 days after receiving this notice this office

lf you are sending your payment by overnight delivery, please use the following address: 14510 W. 77th ST, Suite 200, Edina, MN 55435.

This communication is from a debt collection agency licensed by the Minnesota Department Of Commerce.

Sincerely,

MON'I`Y MAITLAND
Account Manager

Toll Free: 1-877-476-9749

This is an attempt to collect a debt. Any information obtained will be used for that purpose

l OF 3
FRS File #:“70

WWMMWMWMW

1-877-476-9749
Current Balance: $938.22

Amount enclosed:

Home phone:

 

Work phone:

 

Cell phone:

 

Financial Recovery Services. lnc.
P.O. BOX 385908

Minneapolis, MN 55438-5908
Letter Code Sent: 013

This communication is from a debt collector.

See reverse side for important information.

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FRS Fi1e #.» ohio
unum nn null m 111 mn nn lui
1-877_476-9749

Current Balance: $938.22

Amount enclosed:

Office hours are: Monday-Thursday, 7am to 8pm; Friday 7am to 5pm; Saturday 7am to noon.

   

 

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2 3 or 3
i FRS Fixe #;¢iilmo

WWMMWMWMM

1-877~476-9749
Current Balance: $938.22

Amount enclosed:

 

 

 

 

 

Home phone: 5 Home phone:
Work phone: 2 Work phone:
Cell phone: Cell phone:

Financial Recovery Services‘ lnc.
P.O. Box 385908

Minneapolis, MN 55438-5908

' Lcttcr Code Sent: 013

 

Financial Recovery Services. lnc.
P.O. Box 385908

g Minneapolis, MN 55438-5908

. Lctter Code Scnt: 013

 

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We are required under certain State and Local Laws to notify consumers of those States or Loca|ities of the following rights. This list does
not contain a complete list of the rights consumers have under Federal, State, or Loca| Laws.

ADD|T|ONAL lNFOFiMATlON FOR CAL|FORN|A RES|DENTS
The state Rosenthal Fair Debt Co||ection Practices Act and the federal Fair Debt Collection Practices Act require that, except under unusual
circumstances, collectors may not contact you before 8 a.m. or after 9 p.m. They may not harass you by using threats of violence or arrest or by using
obscene |anguage. Collectors may not use false or misleading statements or call you at work if they know or have reason to know that you may not
receive personal calls at work. For the most part, collectors may not tell another person, other than your attorney or spouse, about your debt.
Collectors may contact another person to confirm your location or enforce a judgment. For more information about debt collection activities, you may
contact the Federal Trade Commission at 1-877-|-'1’C-HELP or .

ADD|T|ONAL lNFORMATION FOFi COLORADO RES|DENTS
FOR |NFORMAT|ON ABOUT THE COLORADO FAlR DEBT COLLECT|ON PRACT|CES ACT, SEE M.Q_QIQLagQaUQ_m_QyQ_QD_QQLgMLQa

COLOFlADO OFF|CE LOCAT|ON: 27 NOF\TH WlLLERUP, SU|TE B, MONTHOSE, CO 81401
LOCAL PHONE: 970-249-7514 TOLL-FREE PHONE: 1-866-436-4766

A CONSUMER HAS THE R|GHT TO FiEQUEST |N WFllTlNG THAT A DEBT COLLECTOR OFl COLLECTION AGENCY CEASE FUFiTHEFl
COMMUN|CAT|ONS WITH THE CONSUMER. A WR|TTEN FlEQUEST TO CEASE COMMUN|CAT|ON WlLL NOT PFlOH|B|T THE DEBT
COLLECTOR OFi COLLECT|ON AGENCY FROM TAK|NG ANY OTHEH ACT|ON AUTHOR|ZED BV LAW TO COLLECT THE DEBT.

ADD|T|ONAL lNFORMATlON FOR lLL|NOlS RES|DENTS
Unless you notify this office within 30 days after receiving this notice that you dispute the validity of this debt or any portion thereof, this office will
assume this debt is valid. lf you notify this office in writing within 30 days after receiving this notice that you dispute the validity of this debt or any
portion of it, this office will obtain verification of the debt or obtain a copy of a judgment and mail you a copy of such judgment or verification. This
collection agency will provide you with the name and address of the original creditor, if different from the current creditor, and it may be requested from
us gt any timg in accordance with illinois law.

ADD|T|ONAL |NFORMATION FOR MASSACHUSETTS RES|DENTS
lf you wish to discuss this matter, please call us direct. between the hours of 8 a.m. and 5 p.m. CST, at the number listed on the front of this notice.
Massachusetts resident office address is: 49 Winter St, Weymouth, MA 02189 with office hours: M-Th 10am-3pm.

NOT|CE 0F |MPORTANT R|GHTS: YOU HAVE THE RlGHT TO MAKE A WFi|TTEN OFi OFlAL REOUEST THAT TELEPHONE CALLS REGAHDING
YOUFi DEBT NOT BE MADE TO YOU AT YOUR PLACE OF EMPLOYMENT. AN¥ SUCH ORAL REQUEST WlLL BE VALlD FOFi ONLY TEN DAYS
UNLESS YOU PROV|DE WR|TTEN CONF|FiMATlON OF THE REQUEST POSTMARKED OR DEL|VERED W|TH|N SEVEN DAYS OF SUCH
REQUEST. YOU MAY TERM|NATE THlS REQUEST BY WR|T|NG TO THE DEBT COLLECTOR.

ADD|T|ONAL lNFORMAT|ON FOR M|NNESOTA RES|DENTS
TH|S COLLECT|ON AGENCY |S LlCENSED BY THE MlNNESOTA DEPARTMENT OF COMMEHCE.

_ ADD|T|ONAL lNFORMATlON FOR NEW YORK ClTY RES|DENTS
This collection agency is licensed by the New York City Department of Consumer Affairs. The license number is 1015506.

ADD|T|ONAL lNFORMATlON FOR NORTH CAROL|NA RES|DENTS
Noith Carolina Department of insurance permit number: 3917.

_ ' ADD|T|ONAL |NFCRMATION FOR TENNESSEE RES|DENTS
This collection agency is licensed by the Co|lection Service Board of the State Department of Commerce and lnsurance.

_ _ ADD|T|ONAL INFORMATION FOR WlSCONSIN RES|DENTS
This collection agency is licensed by the Division of Banking in the Wisconsin Department of Financial |nstitutions, www.wdfi,gi;g.

h NOT|CE TO ALL CONSUMERS
Our staff is trained to conduct themselves in a business|ike and professional manner, and to leave you with a positive experience in dealing with our
Company.. lf you have a complaintl criticism, suggestion, or compliment about the way we are collecting this debt, please write to us at P.O. Box
385908, Minneapolis, MN 55438-5908, email us at compliance_@;finie_c.ggm, submit on-|ine at mdmmgm, or call us toll-free at (866) 438-2860
between Qam and 5pm CST Monday-Friday.

Federal Law prohibits certain methods of debt collection, and requires that we treat you fairly. You can stop us from contacting you by writing a letter to
us that tells us to stop contact or that you refuse to pay the debt. Sending such a letter does not make the debt go away if you owe it. Once we receive
your letter, we may not contact you again, except to let you know that there won’t be any more contact or that we intend to take a specific action.

When you provide a check as payment, you authorize us either to use information from your check to make a one-time electronic fund transfer from
your account or to process the payment as a check transaction.

